          Case 1:17-cv-00001-NRB Document 36 Filed 04/20/18 Page 1 of 2



                                                                                     April 20, 2018

Via ECF

Hon. Naomi Reice Buchwald
United States District Judge
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312


       Re:     Trial in Treasure Chest Themed Value Mail, Inc. v. David Morris
               International, Inc., 17 Civ. 00001 (NRB)

       Judge Buchwald:

         I represent the defendant in this action and write in response to the letter sent by
Plaintiff’s counsel this morning. Defendant respectfully declines to submit another request for
production to Plaintiff and rests on the previous one submitted, Plaintiff’s responses to it, and the
hard copy printout of the database that the Court saw on April 17, 2018. Since that is the last
remaining discovery matter, the case should proceed to either (1) summary judgment motions, or
(2) trial and pre-trial conference.

        While Plaintiff has asked to file a summary judgment motion without asking for a pre-
trial motion conference as required under Part 2 of the Individual Rules, another conference may
be unnecessary. The Court is aware of what the database looks like: last name, first name,
physical address and zip code. Counsel repeatedly made the statement that this was only
database used by Plaintiff and was required by the Court’s previous order to bring everything
relied upon.

        Defendant respectfully submits that a reasonable jury could rule in Defendant’s favor
particularly after witnesses from both sides are heard from and, thus, motions under Rule 56 are
unwarranted. Rule 1 states that the rules “should be construed, administered, and employed by
the court and the parties to secure the just, speedy, and inexpensive determination of every action
and proceeding.” Fed. R. Civ. P. 1. Defendant submits that a trial is the only way to “secure the
just, speedy, and inexpensive determination” of the disputes in this case and thus asks for one.

         Moreover, the Court’s Individual Rules state: “The Court will set an individual schedule
for filings prior to trial covering the subjects of pretrial orders, jury charges, in limine motions,
proposed findings of fact and conclusions of law, and pretrial memoranda as appropriate.”
Defendant submits that the pretrial memoranda will make it clear as to whether a fact finder is
needed, and Plaintiff could at that time move under Rule 50(a)(2) for a directed verdict as the
Federal Rules state: “A motion for judgment as a matter of law may be made at any time before
the case is submitted to the jury.” Fed. R. 50(a)(2).



                                                 1
         Case 1:17-cv-00001-NRB Document 36 Filed 04/20/18 Page 2 of 2



       Proceeding to trial thus does not prejudice Plaintiff because the opportunity to prevail
without a jury trial is still available. Such a course of action does, however, save both the Court
and parties substantial time in eliminating the review of an additional motion or cross-motions.

        Defendant also irrevocably waives the right to a jury trial. Since Plaintiff did not demand
a jury trial, this case should be decided by a bench trial. In Defense Counsel’s experience, the
bench trial should take around four (4) hours and certainly no more than one (1) day. Indeed, if
the parties submit affidavits constituting the direct testimony of each trial witness, as is the
practice of some judges in this District,1 even more time can be saved.

       In sum, a four (4) hour bench trial is all that is needed to secure a just, speedy, and
inexpensive determination of the dispute in this case. Defendant respectfully requests one.




                                                                           Respectfully submitted,
                                                                                /s/ Brian Lehman
                                                                                     Brian Lehman
                                                                                  Lehman LG LLC
                                                                          244 5th Ave., Suite B258
                                                                      New York, New York 10001
                                                                                     724-453-4626
                                                                      brian@lehmanlawgroup.com

cc: all counsel by CM/ECF




1
 See, e.g., Individual Rules of Practice in Civil Cases, Hon. Katherine Polk Failla, Part 5, at 6-7
available at http://www.nysd.uscourts.gov/cases/show.php?db=judge_info&id=1189.

                                                 2
